                                            Case 3:07-cv-05944-JST Document 4666 Filed 06/06/16 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                          Case No. C-07-5944 JST

                                   9
                                           This Order Relates To:                             ORDER REGARDING STIPULATION
                                  10                                                          FOR STAY OF PROCEEDINGS
                                  11       ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13             Plaintiff ViewSonic Corporation (“ViewSonic”) and Defendants Chunghwa Picture Tubes,

                                  14   Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (collectively, “Chunghwa”), “stipulate

                                  15   and agree that all remaining proceedings related to the ViewSonic Lawsuit should be stayed until

                                  16   February 2, 2017, at which time the parties expect to file a stipulation of dismissal with prejudice. ”

                                  17   ECF No. 4663 ¶ 4.

                                  18             The parties jointly ask the Court to enter their stipulation as an order. The Court will adopt

                                  19   the stipulation and stay the case entitled ViewSonic Corporation v. Chunghwa Picture Tubes, Ltd. et

                                  20   al., Case No. 3:14-cv-02510. Entry of this stay does not excuse compliance with the Court’s order

                                  21   dated May 27, 2016. See ECF No. 4661.1

                                  22             IT IS SO ORDERED.

                                  23   Dated: June 6, 2016
                                                                                          ______________________________________
                                  24
                                                                                                        JON S. TIGAR
                                  25                                                              United States District Judge

                                  26
                                  27   1
                                        Any party may petition the Court for relief from the stay as to any of the Court’s other orders or
                                  28   other obligations imposed by law, as appropriate. The Court may also grant such relief on its own
                                       motion.
